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11
                             UNITED STATES DISTRICT COURT
12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                    WESTERN DIVISION
14
     UNITED STATES OF AMERICA,               No. CV 14-00456-CBM (RZx)
15
                Plaintiff,
16                                           CONSENT JUDGMENT [JS-6]
                      v.
17
     ONE 2007 JAGUAR XKR,
18
                Defendant.
19
     EMMANUEL IBE KACHIKWU,
20

21              Claimant.

22

23         On January 21, 2014, plaintiff United States of America

24   ("plaintiff" or the "government") filed a Complaint for Forfeiture

25   against One 2007 Jaguar XKR.       The government alleged that the

26   vehicle was subject to forfeiture pursuant to 19 U.S.C. §§

27   1595a(c)(1)(A) and 1595a(c)(2)(A).

28         On March 14, 2014, Claimant filed a claim to the defendant One
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 1   2007 Jaguar XKR (“defendant vehicle”) and, on April 16, 2014, an

 2   Answer.     No other claims have been filed and the time for filing

 3   claims and answers has expired.

 4          The government and Claimant have agreed to settle this

 5   forfeiture action and to avoid further litigation.           The Court,

 6   having been duly advised of and having considered the matter, and

 7   based upon the consent of plaintiff and Claimant,

 8          HEREBY ORDERS, ADJUDGES, AND DECREES:

 9          1.    This Court has jurisdiction over this action pursuant to

10   28 U.S.C. §§ 1345 and 1355.

11          2.    The Complaint for Forfeiture states claims for relief

12   pursuant to 19 U.S.C. §§ 1595a(c)(1)(A) and 1595a(c)(2)(A).

13          3.    Notice of this action has been given in accordance with

14   law.   All potential claimants to the defendant vehicle other than

15   Claimant are deemed to have admitted the allegations of the

16   Complaint.    The allegations set out in the Complaint are sufficient

17   to establish a basis for forfeiture.

18          4.    Claimant agrees to pay a total of $10,000.00 as an amount

19   in lieu of forfeiture of the defendant vehicle.          Such payment shall

20   be made by cashier's check or money order payable to U.S. Customs

21   and Border Protection and sent to: Fines, Penalties, & Forfeitures

22   Office, 301 East Ocean Blvd., Ninth Floor, Long Beach CA 90802.             The

23   cashier's check or money order should include FP&F number 2011-2704-

24   001427.     If Claimant fails to make the payment as and when required

25   by this paragraph, he shall be deemed to have waived all of his

26   right, title, claims and interest in and to the defendant vehicle

27   and consents to the administrative forfeiture of the defendant

28   vehicle without further notice.        Additionally, claimant shall

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 1   satisfy any liens against the defendant vehicle and pay to the

 2   seized property contractor all seizure and storage-related costs.

 3   If there is any delay in picking up the defendant vehicle, claimant

 4   will be responsible for any and all additional storage charges.

 5         5.   Claimant shall promptly make arrangements for the

 6   exportation of the defendant vehicle from the seaport of Los

 7   Angeles/Long Beach California, United States, to a country that is

 8   non-contiguous with the United States.         The defendant vehicle must

 9   physically leave the United States and cannot be placed into a

10   Foreign Trade Zone, customs bonded warehouse, or similar location

11   within the United States.       Within 14 days of the entry of this

12   Judgment and prior to presentation to the Export Desk, Claimant

13   shall present the Immediate Exportation Entry form (CBP Form 7512)

14   with an annotation in the body of the form stating "SEIZURE- FOR

15   EXPORT ONLY" and all necessary and appropriate documents to CBP

16   LA/LB Seaport Import Specialist Team 739 for review.           Upon approval

17   by Team 739, Claimant shall file the Immediate Exportation Entry

18   (CBP Form 7512) and all necessary and appropriate paperwork with the

19   agency’s Export Desk.      After the Immediate Exportation Entry has

20   been approved by the Export Desk, Claimant must provide a complete

21   and accurate copy of the approved export documents to FP&F.

22         6.    Claimant must make the necessary arrangements to ensure

23   that the defendant vehicle is physically exported from the United

24   States no later than 60 days after CBP issues the disposition order

25   notifying the contract storage facility that the vehicle may be

26   released for exportation.       If the defendant vehicle is not exported

27   within 60 days after CBP issues the disposition order notifying the

28   contract storage facility that the vehicle may be released for

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 1   exportation, then Claimant waives all of his right, title, claims

 2   and interest in the defendant vehicle and in any payments made to

 3   CBP pursuant to this consent judgment, and Claimant consents to the

 4   seizure and administrative forfeiture of the defendant vehicle

 5   without further notice.      The time limits set forth herein may not be

 6   extended unless a written request for an extension is submitted by

 7   Claimant and written approval is obtained from the agency before

 8   expiration of the applicable time limits.

 9         7.     Upon satisfaction of Claimant's obligations in paragraphs

10   4 (payment) and 5 (export paperwork), CBP will release the defendant

11   vehicle and notify Claimant that the defendant vehicle may be

12   exported.    If the defendant vehicle remains in storage for any

13   amount of time after the date arranged by the contract storage

14   facility for Claimant to pick up the defendant vehicle, Claimant

15   shall be responsible for additional storage costs as determined by

16   the contract storage facility.       Such costs shall be paid directly to

17   the contract storage facility, and the contract storage facility

18   shall not release the defendant vehicle unless and until Claimant

19   pays any additional accrued storage costs.

20         8.    Claimant agrees that he will provide to FP&F a copy of the

21   on-board bill of lading within 14 days of receipt by the carrier of

22   the defendant vehicle for export from the United States.            In

23   addition, Claimant agrees that he will provide to FP&F, within 14

24   days of its occurrence, proof of arrival and unlading of the

25   defendant vehicle in the country to which it is exported or the

26   first country in which the defendant vehicle is unladen after its

27   export from the United States.

28         9.    Claimant agrees that he will not import the defendant

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 1   vehicle to the United States or any of its territories.           Claimant

 2   bears the risk of any denial or refusal of entry of the defendant

 3   vehicle into a foreign country or territory.          If the defendant

 4   vehicle is returned by Claimant to the United States or any of its

 5   territories for any reason, it shall be seized and Claimant waives

 6   all of his rights, title, claims and interests in the defendant

 7   vehicle and any other merchandise used to facilitate the

 8   reintroduction of the defendant vehicle, as well as his rights,

 9   title, claims and interests to any payments made to CBP pursuant to

10   this consent judgment, and Claimant consents to the seizure and

11   administrative forfeiture of the defendant vehicle and any

12   facilitating property without further notice.

13         10.   Within 60 days of Claimant’s providing FP&F a copy of the

14   on-board bill of lading, the agency will initiate the return of the

15   CF301 bond, without interest, posted by Claimant on April 23, 2012,

16   concerning the seized property, to Claimant through his counsel,

17   Ogochukwu Victor Onwaeze at Onwaeze Law Group at 3250 Wilshire Blvd,

18   Suite 1500, Los Angeles, California 90010.

19         11.   Claimant hereby releases and forever discharges the United

20   States, its officers, agents, servants, and employees, their heirs,

21   successors, and assigns, from any and all actions, suits,

22   proceedings, debts, dues, contracts, judgments, damages, claims,

23   and/or demands whatsoever in law or equity which Claimant, his

24   heirs, successors, or assigns, ever had, now has, or may have in the

25   future in connection with the detention, seizure, forfeiture,

26   remission, release, and/or other disposition of the defendant

27   vehicle in this case.

28         12.   Claimant agrees to hold and save the United States, its

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 1   officers, agents, servants, and employees, their heirs, successors,

 2   and assigns, harmless from, and indemnify them for any and all

 3   lawsuits or claims of any character whatsoever by any others,

 4   including costs and expenses for or on account of such lawsuits or

 5   claims, in connection with the detention, seizure, forfeiture,

 6   remission, release, and/or other disposition of the defendant

 7   vehicle in this case.

 8         13.   By agreeing to the entry of this consent judgment Claimant

 9   agreed to withdraw his request to proceed to judicial forfeiture of

10   the defendant vehicle.      Claimant waived and relinquished all rights

11   to contest this case, including all judicial review of the seizure

12   of the defendant vehicle.       Any breach of the terms of this consent

13   judgment shall enable CBP to proceed with the administrative

14   forfeiture of the defendant vehicle without any further notice to

15   Claimant.

16         14.   Claimant has acknowledged that the government had probable

17   cause for the seizure of the defendant vehicle.          The theft of the

18   defendant vehicle from the manufacturer, as alleged in the

19   complaint, occurred before claimant’s acquisition of the vehicle

20   from a dealership and did not involve claimant.          The government and

21   Claimant shall bear their own attorney's fees and costs, if any, and

22   waive any right to appeal of this action.

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 1         15.   The Court finds that there was reasonable cause for the

 2   seizure of the defendant vehicle and institution of these

 3   proceedings.     This judgment shall be construed as a certificate of

 4   reasonable cause pursuant to 28 U.S.C. § 2465.

 5   All pending hearings are now taken off calendar.

 6

 7

 8
     DATED:    July 28, 2014             ___________________________________
 9                                       HON. CONSUELO B. MARSHALL
                                         UNITED STATES DISTRICT JUDGE
10

11
     PRESENTED BY:
12
     ANDRÉ BIROTTE JR.
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     United States Attorney
14   ROBERT E. DUGDALE
     Assistant United States Attorney
15   Chief, Criminal Division
     STEVEN R. WELK
16   Assistant United States Attorney
     Chief, Asset Forfeiture Section
17

18
     _________/s/_____________________
19   FRANK D. KORTUM
     Assistant United States Attorney
20
     Attorney for Plaintiff
21   UNITED STATES OF AMERICA
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